         Case 1:20-cr-10271-DPW Document 194 Filed 04/04/22 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

____________________________________
UNITED STATES OF AMERICA             )
                                     )
              v.                     )
                                     )                Criminal No. 20-CR-10271
DAVID DEQUATTRO,                     )
            Defendant                )
____________________________________)

                     ASSENTED-TO MOTION FOR JUDICIAL NOTICE

       Now comes the Defendant, David DeQuattro, by and through undersigned counsel and

hereby respectfully requests this Honorable Court to take judicial notice of two subject-matters

that are not subject to dispute and the accuracy of which is not questioned:

   (1) Federal and State campaign laws and contribution limitations, including the Federal
       Election Campaign Act, are not applicable to Tribal elections or their donors, elections for
       leadership of the Mashpee Wampanoag Tribe and/or the National Congress of American
       Indian. Accordingly, no Federal or State campaign law imposed any campaign contribution
       limitations, reporting, or disclosure requirements on Mr. DeQuattro or Mr. Cromwell; and

   (2) The Mashpee Wampanoag Tribe had no laws or regulations that govern campaign
       contributions, including laws and regulations that specify contribution limits, entities or
       persons that are permitted to solicit or accept campaign contributions, and/or any reporting
       requirements in connection with such contributions. Similarly, the Mashpee Wampanoag
       Tribe had no laws or regulations regulating how a candidate is to disburse the campaign
       contributions.

       The above two issues were within the scope of defense expert Skip Durocher’s testimony,

who the defense has noticed and intended to call as a witness at trial, In lieu of Mr. Durocher’s

testimony concerning the two matters above, the defense, with the Government’s assent,

respectfully requests this Honorable Court to read the judicially noticed matters at the

appropriate time at trial and to instruct the jury on judicially noticed facts in accordance with

Fed. R. Evid. 201.


                                                                                                    1
         Case 1:20-cr-10271-DPW Document 194 Filed 04/04/22 Page 2 of 5




       Pursuant to Fed. R. Evid. 201, this Honorable Court may take “notice of an adjudicative

fact… when (1) it is generally known within the trial court’s territorial jurisdiction; or (2) can be

accurately and readily determined from sources whose accuracy cannot reasonably be

questioned.” See Melton v. Oklahoma City, 879 F.2d 706, 724 n. 25 (10th Cir.1989) (taking

judicial notice of matters when they are not subject to reasonable dispute and the accuracy

cannot be questioned); Newcomb v. Brennan, 558 F.2d 825, 829 (7th Cir.1977) (noting that city

ordinances can be judicially noticed because they fall within the category of “common

knowledge”). Similarly, it has been long held that “the courts of the United States take judicial

notice … of the laws and jurisprudence of the several States in which they exercise jurisdiction”

and the “law of nations.” Brown v. Piper, 91 U.S. 37, 42, 23 L. Ed. 200 (1875). To the extent

necessary, this Honorable Court, prior to taking judicial notice, could make determinations

concerning foreign law pursuant to Fed. R. Crim. P. 26.1. A formal request for judicial notice of

law is not necessary. “[T]he submission of a readily retrievable citation, or of copies of the

relevant documents, ought to suffice.” Getty Petroleum Mktg., Inc. v. Cap. Terminal Co., 391

F.3d 312, 333 (1st Cir. 2004) (Lipez, J., concurring).

       Here, the defense respectfully requests judicial notice on the above two subject-matters,

which is consistent with opinions proffered by its expert witness Skip Durocher, a partner at the

law firm of Dorsey & Whitney LLP and a co-chair of the firm’s Indian and Alaska Native

Practice Group, in his expert disclosure and during his Daubert hearing.

        Mr. Durocher, is an attorney who practiced in the area of Indian law for more than 27

years and has represented numerous Indian tribes across the United States, including on matters

of tribal governance. Based on his practice, experience, and review of relevant legislation, Mr.

                                                                                                    2
         Case 1:20-cr-10271-DPW Document 194 Filed 04/04/22 Page 3 of 5




Durocher would testify that the Federal Election Campaign Act (“FECA”) regulates

contributions to campaigns for federal offices and to certain organizations for the purpose of

influencing elections for federal offices. 52 U.S.C. §§30101(1)-(4); (8)(A); 30116. Contributions

made by Mr. DeQuattro or any other donors for the purpose of promoting elections for

leadership of the Mashpee Wampanoag Tribe and/or the National Congress of American Indian

(“NCAI”) are not governed by FECA because no Tribal or NCAI office is a “federal office”

under the FECA. 52 U.S.C. § 30101(3) (“‘Federal office’ means the office of President or Vice

President, or of Senator or Representative in, or Delegate or Resident Commissioner to, the

Congress.”). Donations made for the purpose of supporting a bid for election for Tribal or NCAI

office are accordingly not subject to the limitations, reporting, or disclosure requirements of the

FECA. Furthermore, Chairman Cromwell would not fall within the definition of a “candidate,”

and the processes in which he was involved relating to NCAI and tribal office would not fall

within the definition of “elections,” for purposes of the FECA. See 11 C.F.R. §§ 100.2, 100.3.

Similarly, State election laws govern elections of State leaders and are inapplicable to Chairman

Cromwell, the Mashpee, and NCAI elections. The absence of Federal or State legislation

governing tribal elections is consistent with the principle that Indian tribes, as independent

sovereign nations exercise inherent powers to regulate their own elections with few exceptions.

Additionally, Mr. Durocher has reviewed the laws and regulations governing the Mashpee

Wampanoag Tribe, which are publicly available at https://mashpeewampanoagtribe-nsn.gov/law-

and-policies (a copy of which could be provided to this Honorable court), and has determined

that the Mashpee Wampanoag Tribe had no laws or regulations that govern campaign

contributions, including laws and regulations that specify contribution limits, entities or persons

that are permitted to solicit or accept campaign contributions, any reporting requirements or

                                                                                                      3
         Case 1:20-cr-10271-DPW Document 194 Filed 04/04/22 Page 4 of 5




limitations, or limitations on how a candidate is to disburse the campaign contributions.1 These

subject matters are not in dispute and the accuracy of Mr. Durocher review and analysis is not

questioned.

       For all the foregoing reasons, the defense respectfully requests this Honorable Court to

take judicial notice of the above two subject-matters, in lieu of Mr. Durocher’s testimony on the

issues at trial, and to provide the jury with the judicial notice consistent with Fed. R. Evid 201 at

an appropriate time.

                       COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel conferred with counsel for the Government and the Government, by

and through AUSA Jared Dolan, assents to this request.

                                                       Respectfully Submitted,

                                                       /s/ Martin G. Weinberg
                                                       Martin G. Weinberg
                                                       Mass. Bar No. 519480
                                                       20 Park Plaza, Suite 1000
                                                       Boston, MA 02116
                                                       (617) 227-3700
                                                       owlmgw@att.net


Dated: April 4, 2022




1
 Mr. Durocher is not aware of whether the Mashpee Wampanoag Tribe has subsequently
adopted any such laws or regulations.
                                                                                                    4
        Case 1:20-cr-10271-DPW Document 194 Filed 04/04/22 Page 5 of 5




                                CERTIFICATE OF SERVICE

       I, Martin G. Weinberg, hereby certify that on this date, April 4, 2022, a copy of the
foregoing documents has been served, via ECF, upon all registered participants.

                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg




                                                                                               5
